Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 1 of 32
                                                                         1 of 32



      1                IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
      2                                MIAMI
                            CASE NO. 16-CR-20345-KMM-1
      3 _____________________________________________________________

      4      UNITED STATES OF AMERICA,
                              Plaintiff
      5             vs.                             November 17, 2016

      6      JEFFREY JASON COOPER, A.K.A.,
             DR. JANARDANA DASA, A.K.A.,
      7      JANARDANA, A.K.A., JAY,
                              Defendant.
      8
          _____________________________________________________________
      9               GOVERNMENT'S CLOSING ARGUMENTS (EXCERPTS)

     10                  BEFORE THE HONORABLE K. MICHAEL MOORE,

     11                   UNITED STATES DISTRICT COURT JUDGE
          _____________________________________________________________
     12
                                   A P P E A R A N C E S
     13
            FOR THE PLAINTIFF:       SETH M. SCHLESSINGER, AUSA
     14     UNITED STATES OF         MATTHEW T. GRADY, AUSA
            AMERICA                  United States Attorney's Office
     15                              99 NE 4th Street
                                     Miami, FL 33132
     16                              (305) 961-9260
                                     Seth.m.schlessinger@usdoj.gov
     17

     18     FOR THE DEFENDANT:     GENNARO CARIGLIO, JR., ESQ
            JEFFREY JASON COOPER, 10800 Biscayne Blvd., Ste. 900
     19     A.K.A., DR. JANARDANA Miami, FL 33161
            DASA, A.K.A.,          (305) 899-0438
     20     JANARDANA, A.K.A., JAY Sobeachlaw@aol.com.

     21                              ZELJKA BOZANIC, ESQ
                                     BOZANIC & ASSOCIATES, PA
     22                              800 Brickell Avenue Penthouse II
                                     Miami, FL 33131
     23                              (305) 643-1040
                                     Zeljka@bozaniclaw.com
     24
                                     DENNIS GONZALEZ, JR.
     25                              MANUEL FERNANDO HERRERA
                                     Gonzalez & Herrera, PA
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 2 of 32
                                                                         2 of 32



      1                              11401 SW 40th Street, Suite 204
                                     Miami FL 33165
      2                              (305) 209-0384
                                     Dennis@dgonz.com
      3                              Manny@gnhpa.com

      4

      5     REPORTED BY:             GIZELLA BAAN-PROULX, RPR, FCRR
                                     United States Court Reporter
      6                              400 North Miami Avenue, Suite 8S32
                                     Miami FL 33128
      7                              (305) 523-5294
                                     gizella_baan-proulx@flsd.uscourts.gov
      8
            Also present:
      9             HUY NGUYEN, HSI

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 3 of 32
                                                                         3 of 32



         1                             P R O C E E D I N G S

         2          (The following proceedings were held in open court.)

         3 *        *      *      *     *       *    *       *    *      *      *

         4      (Thereupon, proceedings were held but not transcribed.)

         5 *        *      *      *     *       *    *       *    *      *      *

         6                               CLOSING ARGUMENT

         7               MR. SCHLESSINGER:    Ladies and gentlemen, good

         8 afternoon.      As Your Honor mentioned, this is the closing

         9 argument.      You've heard now all of the evidence that's going to

01:49   10 be admitted in this case.         And because you've heard all the

        11 evidence in this case, you know exactly what this man, Jeffrey

        12 Jason Cooper, Dr. Janardana Dasa, you know exactly what he's

        13 about.       And, really, there are two things that you need to know

        14 about Mr. Cooper that have been demonstrated beyond all doubt

01:49   15 by the evidence that's been admitted in this case.

        16               The first thing is, of course, Mr. Cooper or Dr. Dasa

        17 is a pimp, which, in reality, means a person who profits from

        18 renting out the bodies of women.         That's what Mr. Cooper is and

        19 that's what he does.        That's how he makes his living.     But the

01:49   20 second thing that you need to know and -- about Mr. Cooper

        21 that's particularly critical for this case is that Mr. Cooper

        22 is actually committed to operating, expanding, growing that

        23 prostitution business by any means he has available to him.

        24 He'll say anything.        He'll do anything.    And, most importantly,

01:50   25 he'll commit any act of fraud, tell any lie that he has to to
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 4 of 32
                                                                         4 of 32



         1 grow that business.

         2          The evidence that's been admitted in this case

         3 demonstrated that overwhelmingly.     But when you see all the

         4 evidence in the case, you're going to see, as my co-counsel

01:50    5 Mr. Grady explained to you at the beginning of the case, that

         6 resulted in Mr. Cooper committing various crimes that could

         7 really be grouped into four separate categories.       And Mr. Grady

         8 talked to you about those different categories at the beginning

         9 of the case:   wire fraud; promotion of unlawful activity, in

01:50   10 this case, not surprising, prostitution; the importation of

        11 aliens for prostitution, bringing persons from another country

        12 who are not U.S. citizens to the U.S. to commit prostitution;

        13 and, of course, sex trafficking via fraud, recruiting,

        14 harboring, maintaining or obtaining persons using fraud to

01:51   15 cause them to engage in a commercial sex act.

        16          Now, again, these -- these crimes are going to be

        17 broken down into what are called an elements.       They're going to

        18 be defined by the judge for you in his instructions after

        19 the -- after the arguments.    And you'll have those instructions

01:51   20 with you when you go back.    I'm going to cover a little bit

        21 about the elements of each of these crimes at the end of this

        22 argument for you and describe how the evidence applies in

        23 support of each of those elements beyond a reasonable doubt.

        24          But before I do that, I want to sort of review the

01:51   25 evidence taken together as a whole as a matter of common sense,
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 5 of 32
                                                                         5 of 32



         1 seeing it in its totality.    What does it establish?     Well, as I

         2 said, the first thing is that Mr. Cooper has and has had for a

         3 very long time a commercial sex business.      And we know that.

         4 We know that from -- to start with, first of all, the numerous

01:52    5 Backpage ads in which Mr. Cooper advertises for employees.

         6 This is for anybody who wants to work for Mr. Cooper, directing

         7 the calls (786) 859-6115.    We saw all of that in evidence.

         8 They're posted by Jeff Cooper, as you'll see if you review

         9 those ads.   They tell interested employees to call the 6115

01:52   10 number, which has been demonstrated in any number of ways of

        11 getting used by Mr. Cooper throughout the period that we're

        12 talking about.

        13          Here are some of those ways.      How do we know that

        14 Dr. Dasa is Cooper and his phone number is 6115?       Well, now

01:52   15 today we heard -- we heard now that he presented witnesses that

        16 acknowledged for the first time that he is Dr. Janardana Dasa.

        17 Maybe at the outset of the case, it seemed like that would be a

        18 contested issue.   But we know now that that's not the case.

        19 And we all agree he is Dr. Janardana Dasa.

01:53   20          And then we have the 6115 number being associated to

        21 both Dr. Dasa and Jeffrey Cooper.     Of course, it's the number

        22 for Janardana's Yoga and Wellness on business cards found on

        23 multiple occasions years apart.     Remember Agent Legna Velez,

        24 remember, called him in 2012 and her -- and called one of these

01:53   25 ads and pretended to be somebody who was interested in working
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 6 of 32
                                                                         6 of 32



         1 for Mr. Cooper?    She called that number.

         2             Oxana Makarova, who working for the defendant doing

         3 massages, she had that number saved under her contacts.        She

         4 called him at that number.      Luz Marina Sánchez and Maite

01:53    5 Echeverria, those text messages that were exchanged were

         6 exchanged with that number.      It's multiple apartment leases,

         7 multiple bank accounts.     There's other ways, too.    Certainly,

         8 I'll be surprised -- and we'll see, but I'll be surprised if he

         9 disputes that that's even his telephone number.

01:53   10             But let's get back to Cooper's commercial sex

        11 business.    We saw these ads here in which Cooper directs women

        12 to the 6115.    Multiple ads.    Ads posted not just one time,

        13 numerous times.    Each of these ads posted numerous times over a

        14 lengthy period of time supporting it's a continuing course of

01:54   15 conduct, prostitution.    There's all those text messages I

        16 purported to from Luz Marina Sánchez and Maite Echeverria.

        17 Those were two women who worked for Mr. Cooper at different

        18 times in his commercial sex enterprise.

        19             Remember, each of those is part of a sheet of text

01:54   20 messages.    We couldn't even really spend too much time on any

        21 one of them without being here forever, but here is just an

        22 example of one from Ms. Sánchez.      You see her exchanging a text

        23 message about a $350 job.    Here is one from Ms. Echeverria from

        24 which Mr. Cooper's advising he's just going to wait for the

01:54   25 last guy to leave, he doesn't want the john to seen him walk
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 7 of 32
                                                                         7 of 32



         1 in.    And then he's talking about another upcoming $350 job at a

         2 hotel.

         3             So you saw the contents of -- of that work phone.      Do

         4 you remember that blue Samsung flip phone that was found on

01:55    5 August 4th, 2011, in 914 where           "A" and         "Z" were?

         6 Multiple witnesses identified that blue Samsung flip phone as

         7 the work phone with this phone number, 499-0597.       That 0597

         8 number on tons of Backpage ads for customers to call.        And we

         9 saw when Detective Perez testified about the contents of that

01:55   10 cell phone, numerous contacts.     That was the cell phone that

        11 had I think like over 500 contacts.      And they went up to like

        12 Mickey Mouse 136 and cheapo this and some of that.       Tons of

        13 text messages on it arranging massages and so forth.

        14             Again, what Agent Velez talked about with Cooper

01:55   15 explicitly -- explicitly discussing prostitution with him.         The

        16 contents of that green notebook and all the electronic devices

        17 recovered from Cooper's residence.     So when you take that all

        18 in its totality, there's no question that Cooper is involved

        19 in -- not involved in.    He operates.   He manages a commercial

01:56   20 sex business and has for a long time.

        21             We saw on the Backpage ads that were directed not just

        22 at employees of his business but also his customers.        They were

        23 also paid by for Jeff Cooper as you can see in the Backpage ads

        24 themselves.    They were paid for by him.    They were posted by

01:56   25 him.     They were paid for by him through one of his bank
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 8 of 32
                                                                         8 of 32



         1 accounts.    And from the bank accounts that have admitted in the

         2 case, you see numerous charges from Backpage.         I think one

         3 particular account in a one-year period, I believe the

         4 testimony was well over $1,000 in Backpage ads, which are only

01:56    5 I think 6 or $7 a piece.    He manages to go over $1,000 in a

         6 single bank account spending -- posting Backpage ads.

         7             Most important for this case, several of the Backpage

         8 ads specifically offer commercial sex from the women from

         9 Kazakhstan or work and travel students or exchange students and

01:57   10 so forth.    Those ads are posted specifically in the summer of

        11 2011 in reference to         "A" and           "Z".    For example, I

        12 have here Exhibit 19.    I know it's a little small here, but

        13 this is a Backpage ad specifically referencing Kazakhstan

        14 posted by Jeff Cooper.    Kind of an unusual -- Kazakhstan, I

01:57   15 don't know if it's a country that people think about a lot or

        16 it's very, you know -- something very common.         It's a pretty

        17 specific reference.    But Jeff Cooper has it in this Backpage

        18 ad, Exhibit 19.

        19             And not only does he have it in there, when did he

01:57   20 have it?    He posted that ad multiple times.    But when does he

        21 post that ad for the first time?       May 22nd, 2011.    What's

        22 happening in May 2011?    Jeffrey Cooper is recruiting girls from

        23 Kazakhstan to come work in his commercial sex business.        Now,

        24 is he telling them that they're going to be working in a

01:58   25 commercial sex business?    No.   But we'll come back to that.
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 9 of 32
                                                                         9 of 32



         1           Another example.    First line of the ad, work and

         2 travel students.    Again, posted by Jeff Cooper.     And again,

         3 although posted numerous times, when is this ad first posted?

         4 July 2011.   Remember, what are the dates that            "A" and

01:58    5        "Z" are here working for the defendant?       It's May 30th,

         6 2011, when they arrive in the United States from Kazakhstan.

         7 And it's August 4th, 2011, when they're recovered by law

         8 enforcement from the Bayshore Yacht and Tennis Club in Unit

         9 914.   That's the period they're here:     May 30th, 2011, to

01:58   10 August 4th, 2011.    This ad posted by Jeff Cooper offering

        11 commercial sex from working -- what is it -- work and travel

        12 students is posted when they're here in his building being

        13 hosted by him.   Why?    He's offering them,         "A" and

        14 "Z", for commercial sex in this ad.     But did he tell them that

01:59   15 that's what they would be doing before they got here?          No.   But

        16 we'll get to that.

        17           Same thing again.    Exhibit 22.     Here he calls them

        18 Moldovan and Romanian.    But exchange students.     Jeff Cooper.

        19 First posting June 27th, 2011, when            "A" and          "Z"

01:59   20 are in his apartment building, 104, working for him.         That's

        21 why he's posting this ad.

        22           This is kind of an interesting one.       It says,

        23 Beautiful exchange student from Tibet.       I don't know why this

        24 happens to mention 7904 West Drive specifically.         We know that

01:59   25 7904 West Drive is what?     The address of the Bayshore Yacht and
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 10 of 32
                                                                         10 of 32



         1 Tennis Club where the defendant lived and he had              "A" and

         2          "Z" working for him and living there.     This ad which

         3 offers a Tibetan exchange student, it's also posted by Jeff

         4 Cooper.    And again, this ad is first posted when?      June 6th,

02:00    5 2011.    A week after         "A" and         "Z" arrive here to the

         6 United States thinking that they're going to be working as yoga

         7 receptionists.

         8             Exhibit 35.    You heard the evidence, too, about --

         9 some evidence about Cooper also running his sex business not

02:00   10 just in Miami but also in Los Angeles.       And that's connected to

        11          "A" and          "Z", too, because Cooper wanted          "A"

        12 and          "Z" to come fly out to Los Angeles to work for him

        13 there.    Here you see he's posting -- Exhibit 35, he's posting a

        14 Backpage ad that offers exchange students for commercial sex

02:00   15 but it's in Los Angeles.      Not only exchange students, here he

        16 says they're from Kyrgzstan.       He didn't say Kazakhstan in this

        17 one.     But exchange student fro Kyrgzstan in Los Angeles.

        18             And it's interesting.    That ad also posted by Jeff

        19 Cooper.    When is this ad created?     August 5th, 2011.    Why would

02:01   20 Jeffrey Cooper have posted an ad for Kyrgzstan exchange

        21 students in Los Angeles starting in August 5th, 2011?         Well, as

        22 you see here, it's because, Exhibit 9,             "Z"

        23 "R" was scheduled to fly for the defendant to California to

        24 work for him in Los Angeles.       You see here           "Z"'s

02:01   25 ticket as reflected by the Delta Airlines record.        You see
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 11 of 32
                                                                         11 of 32



         1 here, the issue date is August 4th.      And when is she scheduled

         2 to fly?   August 5th, 2011.    That's why he posts the ad offering

         3 Kyrgzstan exchange students in LA on August 5th, 2011.         That's

         4 when they're supposed to get there.

02:01    5             You also know that they're supposed to get there

         6 because, remember the September 1st call with              "A" that's

         7 recorded, Cooper discusses it at great length.        You were to

         8 supposed to come to LA.      And then (inaud.)    Well, no, you

         9 just -- you don't have to, just come back to work for me.         But

02:02   10 they talk about the planned trip to LA.       And here it is.     This

        11 is it.

        12             You heard the testimony of Oxana Makarova, who herself

        13 witnessed         "A" and         "Z" there.     You heard the

        14 testimony of Violetta.      They testified about some things that

02:02   15 were maybe not so easy for them to testify about, some of the

        16 things that they did working for the defendant, but they

        17 testified about them.    You heard how Violetta Mamaeva was

        18 instructed by Cooper himself to tell             "A" and          "Z"

        19 how to perform these erotic massages.      They didn't know how to

02:02   20 do it.    They weren't expecting to do it.     They were expecting

        21 to be working as receptionists at a yoga study, and they were

        22 upset, naturally, predictably, when they got here and found out

        23 what it is that they -- the defendant really had planned for

        24 them.

02:02   25             Remember Violetta Mamaeva's testimony, that after she
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 12 of 32
                                                                         12 of 32



         1 explained to them, she noticed that they were upset the job

         2 wasn't what they had thought it was going to be.        And she

         3 explained to them, Oh, well, you can maybe try to go find work

         4 somewhere else at -- you know, if this is not what you

02:03    5 expected.    And what does she receive the next day?      A furious

         6 phone call from the defendant.        Why are you telling these girls

         7 that they can go work somewhere else?       Don't separate these

         8 girls from me.      They're supposed to work for me.

         9             You heard the testimony from other persons who were

02:03   10 there at the time who personally were in contact with                "A"

        11 and          "Z".    Jessenia Peña.   Remember, Cooper hired her,

        12 too, in a somewhat fraudulent way.       She was supposed to manage

        13 his rental properties in Costa Rica.       It's not very long until

        14 she ends up performing erotic massages just like everybody else

02:03   15 in the Bayshore Yacht and Tennis Club for Cooper.        You heard

        16 her say it.

        17             It's not just her testimony, it's also, I think,

        18 common sense from the other evidence that's been admitted,

        19       "A" and            "Z" had no support system.    They don't

02:03   20 speak the language.      They have nowhere else to stay.     They

        21 don't have any other family.      They have no other source of

        22 support.    They're one -- both their housing they had arranged

        23 and their means of financial support that they had arranged is

        24 this man.    That's it.   They don't have anything else.

02:04   25             You heard the testimony of Vicky Cortina.      She was
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 13 of 32
                                                                         13 of 32



         1 another worker for the defendant who performed erotic massages

         2 for Cooper.    She pointed out that          "A" and (inaud.) --

         3       "A" and          "Z" went so far as to ask whether they

         4 could live with her.    You heard the testimony.      And again,

02:04    5 understand that         "A" and           "Z" were frightened.     They

         6 believed they would be working as receptionists in the United

         7 States.

         8             And you also saw tons of financial documentation in

         9 support of Cooper -- demonstrating Cooper's commercial sex

02:04   10 business.    Large quantities of irregular cash deposits

        11 corroborating the testimony that you heard from many employees

        12 that Cooper would put the money in a white envelope and deposit

        13 it in the bank.    By the way, a white envelope was recovered

        14 when he was arrested even in 2015.      Numerous purchases, as I

02:05   15 mentioned, at Backpage.com across multiple bank accounts

        16 controlled by Cooper.    So that's the commercial sex business,

        17 and it's also the commercial sex business specifically as it

        18 pertained to         "A" and          "Z".

        19             But what you really need to decide, ladies and

02:05   20 gentlemen, is when it comes to -- when it came to              "A" and

        21        "Z" -- and we'll be the first to admit, there were other

        22 people with whom that Cooper -- Cooper dealt with

        23 straightforwardly and honestly.      But that was not the case when

        24 it came to         "A" and         "Z".   And that's the crux of

02:05   25 this case.
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 14 of 32
                                                                         14 of 32



         1            Here is the very beginning of the fraud.       This is the

         2 fraud at its very inception.      You see, Diyana Ishmetova and

         3 Dr. Janardana Dasa reconnecting after -- it's cut off -- but

         4 after Dr. Dasa reached out on Facebook.       Do you remember the

02:05    5 testimony -- maybe it got kind of lost in the shuffle -- of

         6 Ms. Amirova.    She was Diyana Ishmetova's friend who traveled

         7 with her here in the summer of 2010, the summer prior to when

         8 all this happened.      And they met the defendant on -- on Miami

         9 Beach, and he was talking to them about yoga and then

02:06   10 spirituality and some contact information was exchanged.

        11 Nothing was said about any massages or erotic massages.

        12            And now, almost the next summer, it's the following

        13 spring, and now Cooper is re-establishing contact with Diyana

        14 Ishmetova.    Here -- here she is.    And here is the defendant

02:06   15 saying, Maybe you can send me some pretty girls who want to

        16 work with my yoga health centers -- with my yoga health

        17 centers.     Nothing about massages there.    Here is the job duties

        18 as described by Cooper to Diyana Ishmetova.       What are the

        19 job -- what are the job duties?      Performing clerical duties for

02:06   20 the company, setting up appointments, answering phone calls.

        21 Does that sound to you, ladies and gentlemen, like anything

        22 remotely close to what Cooper actually had             "A" and

        23 "Z" doing?    Is it remotely close?    Of course not.    Of course

        24 not.   This is a lie.    This is fraud.   This is a blatant

02:07   25 falsehood.
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 15 of 32
                                                                         15 of 32



         1            You can see Diyana follows up.      She's obviously taking

         2 him at his word.     I looked at your website.    I like yoga a lot.

         3 He follows up later on in their e-mail -- in their chat message

         4 exchange, he again -- she again inquiries about what the job

02:07    5 duties are.   She's asking, Are they all going to work as

         6 receptionists?    And what's Cooper's response?     Yes, mostly

         7 clerical work, computer work, setting up of appointments.

         8            Where in there of clerical work, computer work, and

         9 setting up appointments does it even imply or suggest that it's

02:07   10 actually going to be commercial sex or prostitution?         Nowhere.

        11 It's another lie.    It's a lie.   And that's the heart of this

        12 case.

        13            Now, I don't have the ability to predict what the

        14 defense attorney is going to argue, but there was some

02:08   15 suggestion during the case that maybe it was decided only after

        16         "A" and        "Z" got here that their English, I guess,

        17 wasn't good enough for them to work as receptionists.         So only

        18 then did Cooper or -- have you tried to do some other type of

        19 work, or they fell, you know, into that because when they got

02:08   20 here, it turns out that they couldn't do the job they were

        21 supposed to do.     Wrong.   You know that's wrong.    Because on May

        22 19th, 2011, 11 days before           "A" and          "Z" even

        23 arrived in the United States, what is Cooper telling one of his

        24 friends on Facebook?    Sponsoring four work and travel

02:08   25 Kazakhstan girls this year.     Got in good with this agency.
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 16 of 32
                                                                         16 of 32



         1 Blah, blah, blah.    They provide Eastern European in the summer

         2 and Brazilian, Argentine, Chilean in the winter.        Looks like

         3 I'll be fully stocked.

         4            Knowing what you know about Mr. Cooper and what he

02:09    5 does to support himself and his business, can you be assured

         6 that when he sends this message, he's intending for               "A"

         7 and         "Z" to work in his commercial sex business when he

         8 says he'll be fully stocked?     Of course.    How else do you know?

         9 That before they got here, when he was still communicating and

02:09   10 telling lies to CCI and to Diyana, that when he was saying

        11 those lies, Cooper himself knew that, in fact, those girls will

        12 be working as -- in his prostitution business.

        13            Look at this next message.      Same day.   May 19th, 2011.

        14 Almost two weeks before          "A" and          "Z" even get here.

02:09   15 It says, Doing well this year.     Well, this year I'm sponsoring

        16 four work and travel girls from Eastern Europe with my company,

        17 so I can send a lot of extra ladies to your club or you can

        18 come in for a stress-relieving massage.

        19            By the way, this four, who are these four?       You

02:10   20 remember in the Facebook exchange that originally                 "D",

        21           "B",        "X", and originally Inumer (ph.) were

        22 supposed to come work for -- for Mr. Cooper.       Those are the

        23 girls that he's talking about at this point.       It's only later

        24 on when          "A" and        "Z" also -- are also looking for

02:10   25 work that he submits a false job offer to them and they arrive
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 17 of 32
                                                                         17 of 32



         1 here in the United States under the same false pretenses.

         2           Cooper knew at all times that he did not have a yoga

         3 studio.   He did not have a reception job at a yoga studio.

         4 What he had was -- the business that he had was a commercial

02:10    5 sex business.    And that's the business that he would be

         6 employing all of the girls that he imported or tried to import.

         7           Again, not only does that message occur before --

         8 before          "A" and        "Z" arrive in the United States,

         9 this Backpage ad, the one we saw, this one before, too, it's

02:11   10 posted before they even get here.      So you keep that in mind

        11 that the suggestion is made, well, once they got here, I saw

        12 their language bad and so they couldn't do the job that I

        13 initially thought.    He's already posted them.

        14           Here we have the actual -- I know it's very small.

02:11   15 These are the log notes from CCI.      Because the defendant didn't

        16 just lie to Diyana, he also lied to the sponsor company.           And

        17 each of the persons with whom -- or to whom he told lies came

        18 here and testified about the lies.      The first one is on

        19 May 12th of 2011 to get          "A" and          "Z" into the

02:11   20 United States.    He has a conversation with Gillian Campbell.

        21 Describes his business to Gillian as one that gives yoga

        22 classes but also organizes wellness retreats abroad.         The

        23 students will be answering phones.      They'll be doing clerical

        24 work, organizing retreats, and making appointments.

02:11   25           Does that sound like the kind of job that the
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 18 of 32
                                                                         18 of 32



         1 defendant actually had for            "A" and           "Z"?   Of course

         2 not.     It's a lie.    May 24th, 2011, to Elizabeth Brennan.       The

         3 employer -- that's Dr. Dasa.        He confirmed          "Z" and

         4 "A".     Janardana said that he has housing available above the

02:12    5 yoga studio.    There's no yoga studio.      Students will be with

         6 clerical work, computer programming, cleaning, setting up

         7 appointments, et cetera.       Lie.

         8             And finally, on June 9th, 2011, to Rob Delaney after

         9 Mr. Delaney is calling to follow up with a complaint from

02:12   10 Olhas, a relative of the three other girls from Kazakhstan, who

        11 are supposed to come to work for Cooper.           He's asking whether

        12 he's heard about any massages are being performed.          He wants to

        13 follow up.    Is this true?      And what does -- what does

        14 Mr. Cooper say?        The students are never asked to perform

02:12   15 massages.    He says this having posted this ad.        And a couple of

        16 weeks later in response to Rob Delaney calling from Chicago,

        17 no, the students are never expected to perform massages.            It's

        18 a lie.    It's fraud.     Blatantly false.

        19             This is the job offer that each of the students

02:13   20 received.    You see there, it's Janardana's Yoga and Wellness.

        21 Of course, it's at the Bayshore Yacht and Tennis Club.           We have

        22 Dr. Dasa with the 6115 number.        And again, there was -- well,

        23 let's skip that.        Let's go straight to what the job description

        24 is supposed to be.

02:13   25             Job title:     Receptionist.   Lie.    Description of
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 19 of 32
                                                                         19 of 32



         1 general job duties:    Performing clerical duties for the

         2 company, setting up appointments, answering phone calls.         Not

         3 true.   Completely false.     Housing is provided here by Dr. Dasa

         4 at the Bayshore Yacht and Tennis Club.       And this same material,

02:13    5 identical job offer was submitted by the defendant for each of

         6 these five victims.            "A" and         "Z", who actually

         7 ended up coming to work for the defendant and did work for the

         8 defendant performing massages in the summer of 2011, and from

         9          "D",          "B", and          "X", who weren't scheduled

02:14   10 to arrive until later and who ended up luckily diverting to

        11 Orlando and luckily never working for the defendant, despite

        12 his best efforts having submitted this job offer with the same

        13 totally fraudulent information.

        14            You see here again.    Exchange students being offered.

02:14   15 Jeffrey Cooper posted on July 30th, 2011.       Just another -- just

        16 another example of Cooper having fraudulently lured those girls

        17 into this country, posting them on Backpage for his own profit.

        18 Of course, here you see in the lead up to             "A" and

        19 "Z" coming to the United States after they discussed before

02:14   20 other girls that Jeffrey Cooper was supposed to import them

        21 into the country from Kazakhstan, then there is a discussion of

        22         "A" and        "Z".    And, of course, Cooper agrees, yes,

        23 they'll always have more employees.      They're never enough --

        24 he's eager for it.

02:15   25            But when she finds out that actually the job is not
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 20 of 32
                                                                         20 of 32



         1 setting up appointments, clerical work, talking on the phone,

         2 it's actually a massage, what is Diyana reaction?          It was a

         3 surprise for everything.     I mean, sensual massage?      Why didn't

         4 you say anything earlier about it?        She's surprised.    Of

02:15    5 course, she's surprised.     Why?    He never said anything earlier

         6 about it.    Never.

         7             And it's interesting.    Because he says later on in the

         8 next message right after this cuts off, he claims that he did.

         9 But if you look back on those Facebook messages, you will see

02:15   10 there is nothing earlier about massage, nor was there anything

        11 in September or in the summer of 2010 when Diyana and

        12 Ms. Amirova met Cooper.    You heard the unequivocal testimony of

        13 Ms. Amirova about that.    We had a conversation.      She was there

        14 for it.   She was there the entire time.       And, of course, I

02:16   15 think he said something like, obvious or not, there were actual

        16 (inaud.) was there anything about sensual massage or a massage

        17 or anything along those lines.       That's the first time Diyana is

        18 hearing about it.

        19             We know, as well, that the --          "A" and            "Z"

02:16   20 were defrauded because they -- they looked for employment in a

        21 matter of days after arriving.       If the job had been what they

        22 had thought, would have been what it was represented to be

        23 originally, would they be seeking like two days later a

        24 different kind of employment?       No.   But they were.   So you have

02:16   25 further evidence that this job was not what they expected.            We
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 21 of 32
                                                                         21 of 32



         1 see        "A" submitted this application on June 3rd.        She said

         2 she could start right away.     Right away.    Same thing for

         3 "Z".    And you heard the testimony that this was at a restaurant

         4 that was close by to the Bayshore Yacht and Tennis Club where

02:17    5 they were living in Cooper's apartment.       Walking distance.

         6            All of this evidence, all of this documentary evidence

         7 corroborates the testimony of the -- all the witnesses that you

         8 heard testify in this case.     Again, you heard the testimony of

         9 Violetta that         "A" and          "Z" were scared.    And it

02:17   10 makes sense that they would be when they got here, because

        11 they -- it was completely -- they didn't completely bamboozled

        12 and tricked, deceived.

        13            It corroborates the testimony of Jessenia Peña.        They

        14 did not want to perform massages, but they ended up doing it

02:17   15 under the -- under their circumstances.       It corroborates the

        16 testimony of Vicky Cortina that they seemed -- they seemed

        17 frightened when Ms. Cortina saw them.      They arrived in the U.S.

        18 thinking that they would be doing reception work, not body

        19 rubs.   In fact, they wanted to see if they could go live with

02:18   20 Vicky Cortina.

        21            So that's the overview of the evidence that more than

        22 establishes the defendant's guilt of the crimes charged in the

        23 indictment.   But there's been a lot of sort of questions that

        24 are going off on a lot of tangents.      And there have been many

02:18   25 suggestions, many sort of suggestions and -- of things that
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 22 of 32
                                                                         22 of 32



         1 really are irrelevant, that really don't matter.

         2            The first thing would be whether force or coercion was

         3 used.   And, you know, I think you heard a lot of questions

         4 about whether the passports were taken away, immigration

02:18    5 documents were taken away, whether the girls were beat up.         I

         6 think someone -- I think the question was asked whether they

         7 were -- whether Cooper admitted he had slaves.        And it doesn't

         8 matter because Mr. Cooper is not charged with sex trafficking

         9 by force or sex trafficking by coercion.       He's charged with sex

02:19   10 trafficking by means of fraud.      By means of fraud.    Given the

        11 evidence that you've seen in this case, did Cooper engage in

        12 fraud in order to cause women to engage in commercial sex?

        13 Yes.

        14            Something else that doesn't matter, the extent of

02:19   15           "Z"'s proficiency in English.      I don't know how many

        16 questions, how much time was spent on how good their English

        17 is.    But it's not the case that if somebody, like, doesn't

        18 speak English as well, it somehow becomes legal to trick them

        19 into working into your prostitution enterprise.        If you don't

02:19   20 speak English very well, you're no less entitled to the

        21 protection of the law.      We don't say, Well, if your English is

        22 only so-so, then actually it's okay for somebody like

        23 Mr. Cooper to just go ahead and do whatever.       It's just open

        24 season on you in that case.      That's not the law.

02:20   25            Photographs of         "A" and          "Z" socializing
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 23 of 32
                                                                         23 of 32



         1 when they're there.    I feel 100 percent certain that in this

         2 defense argument you're going to see pictures of              "A" and

         3         "Z" partying or out on the town.      It's on (inaud.),

         4 those pictures you saw and I think the latter part of June

02:20    5 2011.

         6            Two things when you think -- when you see those

         7 pictures, which I'm certain they're coming.       The first thing

         8 is, what's trying to be accomplished by showing these pictures

         9 of        "A" and         "Z" at a bar or at a club?      Is it just

02:20   10 to -- is it to suggest that they're, you know, short of impure

        11 or it's improper in some way, that makes no sense because we

        12 know that actually they're engaged in commercial sex.         So we

        13 don't need to tap dance around that, it's actually much worse

        14 than that.

02:21   15            The second thing you can ask yourself is, is there

        16 anything about that -- those pictures or those videos that in

        17 any way detracts from the evidence that supports the elements

        18 of the offense?     Is there anything about those pictures that

        19 makes Cooper's information provided in those job interviews

02:21   20 any -- any less false?    Does it suddenly become true if you see

        21 a picture of         "A" and          "Z" out and -- by the way,

        22 we're not afraid of those.     We -- we admitted those photographs

        23 in our case.   Does it mean that he really did have a yoga

        24 studio job for them if you see those photographs?        Of course

02:21   25 not.    Does it mean he really had a receptionist job or he was
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 24 of 32
                                                                         24 of 32



         1 telling the truth about that if you see those photographs?         No,

         2 of course not.

         3           And there's a lot of other things that don't matter.

         4 North Dakota.    North Dakota is not relevant to the case.

02:21    5 Whether         "A" and         "Z" wore makeup when they were

         6 doing massages or encountered by law enforcement does not

         7 matter.   I'm going to save these elements for the second half

         8 of my argument.

         9           But ladies and gentlemen, when these two young women

02:22   10 came into this country,          "A" and          "Z", the evidence

        11 is overwhelming.    They did not know that they would be working

        12 a commercial sex enterprise run by the defendant, Dr. Janardana

        13 Dasa.   They did not know that this is what he had in mind for

        14 them.   This is what the defendant's reaction was to -- the

02:22   15 defense to their experience.     First the demands, I want the

        16 money for the massage that             "Z" did.   You also owe me at

        17 least for one of the massages that             "Z" did.   And then we

        18 have, of course, the threats.     You both are not virgins, at

        19 least not anymore.    Those are the defendant's words.       I wonder

02:22   20 what your father would think if he found out?       That's the

        21 defendant's words to          "A".

        22           But, of course, now we have also            "A" and

        23           "Z"'s reaction to it.      I will never go back to you.

        24 What I was doing in Miami is killing me still every day.         She's

02:23   25 not talking to law enforcement there.       She's not testifying in
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 25 of 32
                                                                         25 of 32



         1 court.       This is her own private message to the defendant.      The

         2 most candid possible type of message.         It's killing me every

         3 day.

         4               Ladies and gentlemen, the defendant is guilty.       The

02:23    5 evidence is truly overwhelming.        I urge you to return the only

         6 possible verdict consistent with that evidence, and it's a

         7 guilty as charged in the indictment.         Thank you very much.

         8

         9 *        *      *      *     *     *     *       *    *      *       *

02:23   10        (Thereupon, proceedings were held but not transcribed.)

        11 *        *      *      *     *     *     *       *    *      *       *

        12

        13                              CLOSING ARGUMENT

        14               MR. GRADY:   Well, we just heard a very interesting

03:19   15 theory from defense counsel about what he thinks the law of sex

        16 trafficking is.      I think he said a telltale sign, the hallmarks

        17 of trafficking.      And a telltale sign is force or seizing a

        18 passport, seizing immigration travel documents.         That's a

        19 hallmark of sex trafficking.

03:19   20               And look, I'll make this deal with you right now.          If

        21 you go back in this jury room, as soon as I'm done talking,

        22 Judge Moore is going to explain to you the actual law, not his

        23 opinion on the law, but the actual law.         And if you find that

        24 the government is required to prove that force is used in sex

03:19   25 trafficking, if you find that that's an element of the offense,
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 26 of 32
                                                                         26 of 32



         1 you should find Mr. Cooper not guilty.       If you see that that's

         2 required, you should find him not guilty.       It's not required.

         3 It's not part of the law.

         4             Same thing.   If you see that the government is

03:20    5 required, and if you hear from the judge that the government is

         6 required to prove that he seized their passports or is hiding

         7 their immigration documents, if you find that that's a

         8 requirement, you should find Mr. Cooper not guilty.           It's not a

         9 requirement.    It's not the law.    It's an interesting theory.

03:20   10 He can have a personal opinion.      He can have his own private

        11 concept of what it is, but you need to apply the law.          And we

        12 happen to have the instructions that the judge is actually

        13 going to give you here in advance.

        14             Defense counsel, he gave you his own kind of personal

03:20   15 theory about what he thinks.

        16             I'm sorry.    Judge, could we get the jury monitors on?

        17 Thank you.

        18             We have here the actual reality of what it is.        These

        19 are the elements of the offense.      And you'll see here there's

03:21   20 three of them.    Let's just work through them methodically

        21 together.    The first element is that the defendant, Mr. Cooper,

        22 that he recruited or enticed or harbored or transported or

        23 provided or obtained or maintained by any means as to one count

        24       "A", as to the other count             "Z".   Did the

03:21   25 defendant -- did Mr. Cooper recruit in some way                "A" and
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 27 of 32
                                                                         27 of 32



         1          "Z"?     Of course.   And the government only has to prove

         2 one of these, but actually multiple of these is easily proven.

         3             Did he harbor, for example,              "A" and            "Z"?

         4 Yes.     In the Bayshore Yacht and Tennis Club.         Did he maintain

03:21    5          "A" and         "Z" for his commercial sex business in the

         6 Bayshore Yacht and Tennis Club?        Yes.     He provided them

         7 housing.    He was supposed to be paying them.          Did he obtain

         8          "A" of         "Z"?   Yes, of course.       He obtained

         9 "A" and            "Z" by submitting job offers to CCI which is

03:22   10 what caused them to come to the United States from Kazakhstan.

        11 So did the defendant knowingly recruit, entice and so forth

        12 both         "A" and           "Z".    Yes.   Yes.

        13             Second, did the defendant do so knowing that a means

        14 of fraud would be used to cause               "A" and          "Z" to

03:22   15 engage in a commercial sex act?        Yes, of course.     Was there a

        16 fraud?    Were there lies told by the defendant to get                  "A"

        17 and          "Z" to come here to join his sex business?            Of

        18 course there were.      We talked about this over and over again.

        19 Lying to Diyana.       Lying to CCI.   Lying in some of these job

03:22   20 offers.    Completely fake.     Did he use a means of fraud to cause

        21          "A" and         "Z" to come to the United States so they

        22 could be in his sex business?         Yes, of course.

        23             And third, that the defendant's acts were in or

        24 affected interstate or foreign commerce.           Of course they did.

03:23   25 They traveled.            "A" and             "Z" traveled, actually,
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 28 of 32
                                                                         28 of 32



         1 from another country to the United States as a result of

         2 Mr. Cooper's conduct.

         3             Those are the elements of the offense.     Not force or

         4 fraud.    Mr. Cooper is not charged -- or excuse me -- not force

03:23    5 or coercion.    Mr. Cooper's not charged with force or coercion.

         6 If he were, you should find him not guilty.       But Mr. Cooper's

         7 charged with sex trafficking by fraud.       And of that, he is

         8 guilty.

         9             Ladies and gentlemen, in my limited time I'm not going

03:23   10 to be able to touch on all of the points that the defense made.

        11 I think there was argument made from the defense about

        12 Ms. Morbach.    And he pointed out that -- defense counsel did --

        13 that she was very matter of fact about the kind of job that she

        14 did.     And so was -- the defendant was also very straightforward

03:23   15 with Ms. -- agent Velez when she called and she inquired

        16 about -- in response to one of his ads.       Of course he wanted --

        17 of course was straightforward with them.       Agent Velez is

        18 calling in response to a Backpage ad looking for escorts, so

        19 she's already predisposed.     He doesn't need to lie to her.

03:24   20 She's calling in response to an ad.

        21             Same thing with Ms.   Morbach.   He said -- I think she

        22 said she's done it -- she's done it before and she's a local

        23 person.    She's calling him in response to one of his ads.       So

        24 they're predisposed to do it.     Of course he doesn't need to lie

03:24   25 to her.    But does he need to lie to get          "A" and
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 29 of 32
                                                                         29 of 32



         1 "Z" from Kazakhstan to come here, who don't know anything about

         2 the business?    Of course he does need to lie to them.       And he

         3 did lie to them.    That's the crux of this case.

         4            You heard over and over again that           "A" and

03:24    5          "Z" are not here.   And you heard -- and you heard

         6 throughout the case why they're not here.       I think it's common

         7 sense.    They're embarrassed.   They're mortified.     They're

         8 ashamed.    They're trying -- they're trying to move on.       I think

         9 that's obvious and common sense.      But you need to think about

03:25   10 not only that understandable reasons why they did not want to

        11 travel back to the United States and relive this episode from

        12 the past, but also, what's the significance of that?

        13            You didn't have the testimony of the victims.       In a

        14 murder case, do you ever have the testimony of a murder victim?

03:25   15 Safe to say a murder victim never testifies in court, right?

        16 Can a murder case ever be proven assuming that you never have a

        17 victim's testimony in a murder case, or is it never possible to

        18 prove a murder case?    Of course you can.     And this case has

        19 been proven well beyond a reasonable doubt.

03:25   20            Defense counsel said something about your not having

        21 evidence of a phone conversation between Diyana and Cooper

        22 about -- in which Cooper made the fraud or representations, I

        23 have no idea what he's talking about.      You saw the fraudulent

        24 representation made in the Facebook chat.       I have no conception

03:26   25 of what other phone conversations where that happened.         You saw
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 30 of 32
                                                                         30 of 32



         1 in the Facebook messages, Exhibit 47, Cooper sending a -- fake

         2 information about the job to Diyana.         It's in evidence.        You'll

         3 have it there with you.

         4             Finally -- and this was the main theme.         The

03:26    5 suggestion was, you know, you can't make someone do something.

         6 That's what defense counsel said this case is about.              You know,

         7 you just can't make someone do something else.          You know what?

         8 When you apply your common sense from your real world

         9 experience, you know that that's not true.           Unfortunately,

03:26   10 there is such a thing as deception, trickery, and fraud in real

        11 life.    That is something that exists.       And it was employed in

        12 this case by this man, Jeffrey Cooper, to line his own pockets

        13 by bringing women here under false pretenses from Kazakhstan.

        14             Ladies and gentlemen, I suggest to you the evidence

03:27   15 proves well beyond a reasonable doubt, the exclusion of any

        16 doubt, Mr. Cooper is guilty not only of sex trafficking by

        17 fraud but of all the crimes charged in the indictment.                And I

        18 ask you to return that verdict.      Thank you very much for your

        19 attention.

        20 *       *     *     *        *   *       *       *      *         *      *

        21         (Thereupon, proceedings were held but not transcribed.)

        22 *       *     *     *        *   *       *       *      *         *      *

        23     (Thereupon, the above portion of the trial was concluded.)

        24

        25                          *           *           *
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 31 of 32



        1                            C E R T I F I C A T E

        2

        3               I hereby certify that the foregoing is an accurate

        4   transcription of the proceedings in the above-entitled

        5   matter.

        6

        7        11/03/2017

        8   ________________          ______________________________

        9     DATE COMPLETED          GIZELLA BAAN-PROULX, RPR, FCRR

       10

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25
Case 1:16-cr-20345-KMM Document 151 Entered on FLSD Docket 11/03/2017 Page 32 of 32
                                                                         32 of 32



       1

       2

       3

       4

       5

       6

       7

       8

       9

      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25
